                                NOT FOR PUBLICATION WITHOUT THE
                               APPROVAL OF THE APPELLATE DIVISION
        This opinion shall not "constitute precedent or be binding upon any court ." Although it is posted on the
     internet, this opinion is binding only on the parties in the case and its use in other cases is limited. R. 1:36-3.




                                                        SUPERIOR COURT OF NEW JERSEY
                                                        APPELLATE DIVISION
                                                        DOCKET NO. A-3801-22

MARY RASMUSSEN,

          Plaintiff-Respondent,
v.

RAY RASMUSSEN,

     Defendant-Appellant.
________________________

                   Submitted July 16, 2024 – Decided August 27, 2024

                   Before Judges Sabatino and Susswein.

                   On appeal from the Superior Court of New Jersey, Law
                   Division, Family Part, Ocean County, Docket No. FM-
                   15-0751-16.

                   Madden Law, LLC, attorneys for appellant; (Thomas
                   W. Madden, of counsel and on the brief).

                   Mary Rasmussen, respondent pro se, has not filed a
                   brief.

PER CURIAM

          In this post-judgment matrimonial matter, defendant Ray Rasmussen

appeals a February 27, 2023 Family Part order reducing his alimony payments
but not eliminating them as he requested. Defendant contends the trial court

erred by requiring him to continue to pay alimony until plaintiff, Mary

Rasmussen, reaches full Social Security retirement age. We affirm the trial

judge's ruling.

      We discern the following pertinent facts and procedural history from the

record. The parties were married in May 1993 and have two children, both

emancipated.1 The parties divorced in October 2016. The Marital Settlement

Agreement (MSA) set alimony at $2,500 per month. The agreed-upon amount

was based on plaintiff having an earning capacity of approximately $55,000 per

year and defendant having an earning capacity or income of $140,000 per year.

The "alimony duration" section of the MSA made no provision regarding

alimony upon the parties' respective retirements. That section reads, "[t]he

husband's alimony term shall be open durational based upon the length of their

marriage and current differential in the parties' incomes. All issues regarding

alimony shall be pursuant to N.J.S.A. 2A:34-23(b) et seq."




1
  The Family Part order states the oldest child is emancipated, and the younger
child is "a soon-to-be college graduate in May 2024." Defendant's appeal brief
states that both children are emancipated.
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                                      2
      In 2020, defendant, at the age of fifty-nine, took an early retirement from

his long time career as a union electrician. 2 His post-retirement annual income,

which is now based on his pension and Social Security, is $81,000. Plaintiff

continues to work with average earnings of approximately $65,000.               In

September 2023, she began receiving approximately $15,000 per year for her

share of defendant's pension. Plaintiff's combined income is thus nearly equal

to defendant's income.

      In July 2022, defendant moved to terminate alimony based upon a

substantial and permanent change in circumstances. The judge declined to

terminate alimony but reduced defendant's monthly payment to $950 per month

for five years until plaintiff becomes eligible for full Social Security benefits.

In the written statement of reasons incorporated into the February 27, 2023

Order, the trial judge explained:

            Given the disparity in incomes after retirement, the
            court is not offended if [p]laintiff is able to earn more
            than $65,000 over the next five years so she can better
            save for her retirement. Therefore, [p]laintiff shall be
            able to earn in excess of $65,000 (up to $130,000 or
            twice her estimated annual income) without triggering
            a modification of support to enable her [to] save over
            the next five years until spousal support terminates as

2
   The trial judge found "[d]efendant retired in good faith given the economic
circumstances due to COVID and that early retirement enabled him to continue
paying his support obligations."
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                                        3
              her Case Information Statement shows no savings, no
              investments, no retirement accounts besides her share
              of [defendant's] pension, and no real estate. This is
              based on [d]efendant receiving $36,204 more per year
              than [p]laintiff after age [sixty-seven]. Allowing
              [p]laintiff to earn up to $130,000 per year without
              triggering a modification of alimony would allow her
              to save up to $325,000 by age [sixty-seven] to better
              provide for herself in a way that is more in line with . . .
              [d]efendant's retirement.

      On appeal, defendant contends the trial court erred by finding on the one

hand that his early retirement was in good faith, but on the other hand imputing

additional post-retirement income to him when calculating his modified alimony

obligation.    Defendant also contends the trial court erred by requiring him to

continue to pay alimony, albeit at a reduced amount, until plaintiff reaches full

Social Security retirement age.

      We preface our analysis by acknowledging basic legal principles

governing this appeal.      "Courts have continuing power to oversee divorce

agreements, and the discretion to modify them on a showing of 'changed

circumstances' that render their continued enforcement unfair, unjust, and

inequitable." Konzelman v. Konzelman, 158 N.J. 185, 194 (1999) (quoting

Berkowitz v. Berkowitz, 55 N.J. 564, 569 (1970) (internal citations omitted)).

Importantly for purposes of this appeal, in Bermeo v. Bermeo, we noted that for



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                                           4
an appellate court to reverse a trial court's decision on whether to modify

alimony,

            [we] must conclude that the trial court clearly abused
            its discretion, failed to consider "all of the controlling
            legal principles," or [we] must otherwise be "well
            satisfied that the finding[s] [were] mistaken," or that
            the determination could not "reasonably have been
            reached on sufficient credible evidence present in the
            record after consideration of the proofs as a whole."

            [457 N.J. Super. 77, 84 (App. Div. 2018) (alteration in
            original) (quoting Rolnick v. Rolnick, 262 N.J. Super.
            343, 360 (App. Div. 1993)).]

      Turning to substantive legal principles, in Innes v. Innes, our Supreme

Court explained that in divorce actions, courts may award alimony:

            "[A]s the circumstances of the parties and the nature of
            the case shall render fit, reasonable and just . . ."
            N.J.S.A. 2A:34-23. The basic purpose of alimony is the
            continuation of the standard of living enjoyed by the
            parties prior to their separation. Mahoney v. Mahoney,
            91 N.J. 488, 501-02 (1982). The supporting spouse's
            obligation is set at a level that will maintain that
            standard. Lepis v. Lepis, 83 N.J. 139, 150 (1980).
            Although the supporting spouse's current income is the
            primary source considered in setting the amount of the
            award, his or her property, capital assets, and "capacity
            to earn the support awarded by diligent attention to his
            [or her] business" are also proper elements for
            consideration. Bonanno v. Bonanno, 4 N.J. 268, 275
            (1950).

            [117 N.J. 496, 503 (1990).]


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                                        5
      Furthermore, as our Supreme Court explained in Steneken v. Steneken,

"all alimony awards and equitable distribution determinations must—both

jointly and severally—satisfy basic concepts of fairness." 183 N.J. 290, 298

(2005). Thus, the Steneken Court held, "a trial court's determination of the

interplay between an alimony award and equitable distribution is subject to an

overarching concept of fairness . . . ." Id. at 293. The Court in Steneken also

noted that "equitable distribution determinations are intended to be in addition

to, and not as substitutes for, alimony awards." Id. at 299.

      Applying the foregoing principles to the matter before us, we find no

abuse of discretion in the trial judge's decision to reduce but not immediately

terminate defendant's alimony obligations.       We decline to substitute our

judgment for the trial judge's in evaluating the overall fairness of continuing

alimony to "allow [plaintiff] to save up to $325,000 by age [sixty -seven] to

better provide for herself in a way that is more in line with . . . [d]efendant's

retirement."

      Affirmed.




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